                         IN THE UNITED STATE DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    Baltimore Division

Estate of Henrietta Lacks,                           *

        Plaintiff,                                   *

v.                                                   * Civ. No. DLB-21-02524

Thermo Fisher Scientific, Inc.                       *

        Defendant.                                   *

                                                     *

                     MEMORANDUM OF AMICI CURIAE IN SUPPORT OF
                      PLAINTIFF THE ESTATE OF HENRIETTA LACKS

                                                     Doug Rendleman and Caprice Roberts, through

Silverman Thompson Slutkin & White, LLC, in support of Plaintiff, who state as follows:

                                          INTRODUCTION

        This brief addresses the law of unjust enrichment and its relationship to restitution

                                                             has failed to state a valid cause of action

for restitution relief. Defendant incorrectly insists that plaintiff must plead a tort to seek restitution

remedies as well as                                                               Both arguments belie

the basic tenets of unjust enrichment law. Simply, plaintiff may seek restitution remedies based

                                                                         either a separate tort nor an

allegation of the lack of bona fide purchaser status is required

to survive these challenges.




Restitution and Unjust Enrichment § 1 (Am. Law. Inst. 2011). A quintessential example of
restitution is to seek disgorgement for improper gains. Plaintiff alleges that defendant has

benefitted unjustly by profiting from the HeLa cell line

plaintiff asks that defendant disgorge its wrongful profits. That is entirely proper.

       Plaintiff             applies the law of restitution in a new area, for the underlying alleged

facts are unique. The unjustness of d

Ms. Lacks consent, and it                                                               s estate despite

amassing enormous profits from her unique, immortal cell line. Restitution remedies are designed

to capture novel forms of misconduct. See Bogert, Law of Trusts & Trustees § 471, at 29 (rev. 2d

                                                       cribing all the specific forms of inequitable

holding which will move it to grant relief, but rather reserves freedom to apply this remedy to



       For hundreds of years, the common law, including the law of restitution, has evolved to

apply to unique fact patterns and fashion appropriate relief. These common law developments are

essential as times change, scientific discovery advances, and knowledge of wrongdoing comes to

light. Restitution law requires common law advancements to serve the overarching purpose of

ensuring wrongdoers cannot retain unjust enrichments. Plaintiff seeks to apply the Restatement

(Third) of Restitution and Unjust Enrichment through sections 43 44 and section 51, which

authorize disgorgement of profits for conscious wrongdoing. Section 51 defines conscious

                                                                              (a) with knowledge of

the underlying wrong to the claimant, or (b) despite a known risk that the conduct in question



§ 51(3) (Am. Law. Inst. 2011).

       Amici agree that the law of restitution and the relevant Restatement provisions should aid



                                                  2
this plaintiff. The lack of identical precedent should not block the ability of restitution law to

provide disgorgement relief for the type of wrongdoing alleged. Indeed, amici have argued for

such developments of restitution principles in the area of the Emoluments Clauses in the United

States Constitution, Caprice L. Roberts, Disgorging Emoluments, 103 Marquette L.Rev.1 (2019).

And that is all that is happening here   plaintiff seeks to use restitution and its remedies to serve

the very purposes underlying this vast body of law. If the Court finds, as plaintiff has urged, that

plaintiff has plausibly pleaded its claim, it should not dismiss simply because there is no case

directly on point. Rather, the Cou

guiding principles to help further develop compelling applications of unjust enrichment law such

as this case.

I.      Defendant argues that a restitution plaintiff must allege a tort. This is incorrect.

        A law student may start her study of restitution with the following classroom hypothetical.



make a gift to Sarah? No. Has Sarah committed a tort? No. Has Sarah breached a contract? No.




                        end on any other violation of the law? Yes. Doug Rendleman & Caprice

Roberts, Remedies: Cases and Materials 517 (9th ed. 2018).

                                                                                               ; it is

separate from the law of tort, contract, property, or other bodies of substantive law. It is governed

by the Restatement (Third) of Restitution and Unjust Enrichment (Am. Law. Inst. 2011).

        For one example of restitution as a separate body of substantive law based solely on

                               , we may look to a situation where a tenant erroneously overpays



                                                 3
rent for several years. In Baltimore & A. R. Co. v. Carolina Coach Co., 206 Md. 237 (1955), the

Court of Appeals approved assumpsit for restitution of rent overpayment based on mistake of fact

without any tort or breach of contract.1 Mistaken cash payments are also generally recoverable as

restitution. Dan B. Dobbs & Caprice L. Roberts, Law of Remedies: Damages                   Equity

Restitution §4.8, at 485 (West 3d ed. 2018).

       The foregoing straightforward example notwithstanding, confusion may occur because

restitution remedies can apply to various underlying causes of action, and a variety of restitution

remedies exist. For example, the restitution remedy of constructive trust can flow from a breach

of fiduciary duty; or the restitution remedy of disgorgement exists for trademark infringement.

This piggybacking form of restitution remedies onto other substantive doctrines, including certain

torts, may cause the misconception that a plaintiff seeking restitution remedies must allege a tort.

This conclusion is wrong. Here, plaintiff demands disgorgement of profits     a restitution remedy

for the claim of unjust enrichment. This combination is not novel and is proper.



other violation of the law. The principal example is mistake.

mistake is subject to rescis                         Restatement (Third) of Restitution and Unjust

Enrichment § 5(1) (Am. Law. Inst. 2011). The purpose is to avoid the                          unjust




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          A
old distinction between mistake of fact and mistake of law is repudiated because it has always been
theoretically unsound; because the two types of mistake are frequently impossible to distinguish
as a practical matter; and because the distinction, even when it is possible, has no relevance to the
                                                                 Restatement (Third) of Restitution
and Unjust Enrichment § 5(2)                                    (Am. Law. Inst. 2011).


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enrichment due to the mistake. This recovery does not require any other claim of substantive

breach than unjust enrichment.

         Nor does quantum meruit

Restatement (Third) of Restitution and Unjust Enrichment § 31 Comment e (Am. Law. Inst. 2011):




See also Campbell v. TVA, 421 F.2d 293 (5th Cir. 1969). This example is a classic legal restitution

claim.



(Third) of Restitution and Unjust Enrichment Chapter 5 Restitution for Wrongs (Topic 1, Benefits

Acquired by Tort or Other Breach of Duty) §§ 40 44. (Am. Law. Inst. 2011). This possible path

towards a remedy does not exclude the alternatively viable path of a freestanding unjust enrichment

claim for restitution remedies. Here, plaintiff proceeds purely on a freestanding unjust enrichment

claim for restitution relief.

         In any event, plaintiff alleges that violation of fiduciary duty lies at the beginning of

                                                                                      Restatement

(Third) of Torts: Liab. for Econ. Harm § 16 (2020); Restatement (Second) of Torts § 874 (1979).



conduct to the person for whom he should act; see also Plank v. Cherneski, 469 Md. 548 (2020)

(holding that a breach of fiduciary duty is actionable as an independent cause of action). Further,

an un-consented operation like the operation on Henrietta Lacks alleged as the origin of the

                       richment is the tort of battery. Restatement Torts (Second) § 13 (Am. Law.




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Inst. 1979). The facts as alleged include these torts, but the sole count of unjust enrichment does

not require that plaintiff additionally pursue a tort cause of action.

II.    Defe
       status to state a restitution cause of action. This is incorrect.

       The short answer

                                                 is that bona fide purchase is an affirmative defense.

Restatement (Third) of Restitution and Unjust Enrichment Chapter 8, Defenses to Restitution, § 66

(Am. Law. Inst.



                Id.

       The burden to interpose and maintain an affirmative defense is on the defendant. 2 A

plaintiff need not allege that the conditions of an affirmative defense do not exist. Federal Rule of

                                   federal complaint should not anticipate an affirmative defense.

Louisville & Nashville R. Co. v. Mottley

                                       annot establish federal question jurisdiction).

       Bona fide purchaser is often a defense to tracing in equitable restitution, constructive trust,

equitable lien, and perhaps accounting. Restatement (Third) of Restitution and Unjust Enrichment,

§ 66, Illustration 1. (Am. Law. Inst. 2011). Plaintiff alleges legal restitution and accounting-

disgorgement. Restatement (Third) of Restitution and Unjust Enrichment § 51 (Am. Law. Inst.



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          The Authors understand that, in Plitt v. Greenberg, 242 Md. 359, 365 (1966), the Court
of Appeals stated that the plaintiff held the burden of persuasion at the earlier trial on the
                         bona fide purchaser for value. As explained in the accompanying motion,
this brief is based on the modern national law of restitution as stated in the Restatement (Third) of
Restitution and Unjust Enrichment. The better view, that of the majority of courts and the
Restatement (Third) of Restitution and Unjust Enrichment, is that bona fide purchase is an
affirmative defens


                                                   6
                                                                                  richment, if proved,

comes from third persons, not from the plaintiff. P

money judgment for disgorgement of wrongful profits.

III.                                                                       .

       A                                                                                        of the

Restatement

                                                                  e 1) unjustness, 2) enrichment, and



                                                                                  § 1 & Comment a.

(Am. Law. Inst. 2011).

       Under federal plausibility pleading, a plaintiff                 must allege sufficient factual

material          [] their claims across the line from conceivable to plausible. Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 570 (2007).

original wrongful and unconsented excision of tissue from Ms. Lacks, an obvious benefit to the

                                                                                                 This

allegation tracks and articulates the elements of an unjust enrichment claim.

restitution complaint need not allege a tort or the absence of bona fide purchaser status. The

                               that defendant has amassed millions as a direct consequence of a

battery committed by a doctor against a patient       describe precisely the kind of situation the law

of unjust enrichment is designed to remedy. Nothing more is necessary, at this stage, to advance

an unjust enrichment claim for disgorgement.




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                                        CONCLUSION

       Plaintiff has alleged sufficient facts to survive a motion to dismiss on its claim for unjust

enrichment.

Dated: February 18, 2022                     Respectfully submitted,

                                                    /s/ Andrew C. White
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